Case 2:10-bk-50991   Doc 39   Filed 10/25/10 Entered 10/25/10 15:26:09   Desc Main
                              Document     Page 1 of 4


This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: October 25, 2010


____________________________________________________________


BK1009187
(DP)
                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                               AT COLUMBUS

IN RE:                                         Case No. 10-50991

ELIZABETH ANNETTE CAMERON                      Chapter 13
                                               Judge Hoffman, Jr.
                         Debtor

                                               ORDER GRANTING MOTION FOR
                                               ORDER AUTHORIZING LOAN
                                               MODIFICATION OF THE SECURED
                                               CREDITOR, AMERICAN HOME
                                               MORTGAGE SERVICING, INC.
                                               (PROPERTY ADDRESS: 5005
                                               MAJESTIC DRIVE EAST,
                                               COLUMBUS, OH 43232) (DOC.
                                               #36)


      This matter came to be considered on the Motion for Order

Authorizing Loan Modification (the “Motion”) filed by American

Home Mortgage Servicing, Inc. (“Movant”) on September 13, 2010 as

Pacer Document #36 for the property located at 5005 Majestic Drive

East, Columbus, OH 43232.

      Movant has alleged that good cause exists for granting the
Case 2:10-bk-50991     Doc 39   Filed 10/25/10 Entered 10/25/10 15:26:09     Desc Main
                                Document     Page 2 of 4


Motion     and   that    Debtor,      counsel    for   Debtor,   the    Chapter    13

Trustee, and all necessary parties were served with the Motion as

indicated on the Certificate of Service attached to said Motion.

No party filed a response or otherwise appeared in opposition to

the Motion.

      Based      on     this,    it    appears    appropriate     to    grant     the

authorization requested.

IT IS THEREFORE ORDERED:

      l.      The     Motion    is    granted    and   the   Debtor    and   Secured

Creditor are permitted to enter into a Loan Modification Agreement

according to the terms attached to this order as Exhibit “A”.

SO ORDERED


/s/ Steven H. Patterson
Ohio Supreme Court #0073452
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                              Document     Page 3 of 4
Case 2:10-bk-50991   Doc 39   Filed 10/25/10 Entered 10/25/10 15:26:09   Desc Main
                              Document     Page 4 of 4
